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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            January 14, 2015
8                      Defendants. )            10:30 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16
17   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. PAUL A. MICHALIK
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20
                                  CITY OF CHICAGO CORPORATION COUNSEL
21                                     BY: MS. LIZA M. FRANKLIN
                                       121 North LaSalle Street
22                                     Suite 600
                                       Chicago, Illinois 60602
23
24   ALSO PRESENT:                      MR. JON LOVEY
25
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1            (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City of Chicago.
3                MS. GORMAN: Good morning, your Honor; Candace
4    Gorman.
5                MS. FRANKLIN: Good morning, your Honor; Lisa
6    Franklin on behalf of the City of Chicago.
7                MR. MICHALIK: And Paul Michalik on behalf of the
8    City defendants.
9                THE COURT: I know you're not here on my sentencing.
10   Are you going to want to come up and say something about this?
11               MR. LOEVY: I hope not, your Honor.
12               THE COURT: That's Mr. Loevy. You know who he is,
13   right?
14               THE REPORTER: Yes.
15               THE COURT: All right, fine.
16               Okay. So I've got the motion for leave to move and
17   the opposition to the motion for leave to move. And since I
18   read the opposition last, why don't you talk first, Ms.
19   Franklin.
20               MS. FRANKLIN: Okay. Well, first of all, your Honor,
21   I didn't actually -- I'm not convinced that the language of
22   your order says that we can't do this, but, again --
23               THE COURT: I don't remember what the order even
24   says.
25               MS. FRANKLIN: It's on page 2. It's the block quote
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1    on page 2 of our motion.
2                THE COURT: The thing about hermetically sealed. Did
3    I enter a written order at some point that said something?
4                MS. GORMAN: No.
5                MS. FRANKLIN: No, your Honor.
6                THE COURT: I didn't. Okay, it's all verbal. So let
7    me read through this again.
8          (Brief interruption.)
9                THE COURT: Okay, I understand what you're saying.
10               Yes, I didn't -- I think I said it would be a really,
11   really bad idea, but I didn't say you couldn't absolutely do
12   it.
13               MS. FRANKLIN: And so the reason that we are here,
14   your Honor, is because we are getting orders from criminal
15   courts seeking leave to go -- for people to go into the
16   basement because there's this idea that we don't know what's
17   in there.
18               But we have a list of every RD file in that basement.
19   We have a list of every RD file that was prosecuted, and we're
20   seeking to put the files back where they belong.
21               If your Honor reverses the jury verdict in this case
22   and allows Ms. Gorman to do additional Monell discovery, we
23   can recreate the basement if that's necessary. But we're
24   seeking to put things back where they belong, so that if we do
25   get a subpoena for a file, the police department will actually
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1    look in the right places.
2                THE COURT: You have already gotten so far requests
3    for files that are in these filing cabinets in criminal cases.
4                MS. FRANKLIN: No. We have gotten requests to look
5    in the basement to see if there are file cabinets.
6                THE COURT: Okay, got it.
7                MS. FRANKLIN: The basement has become a mystical
8    place where all files are kept, and so I'm seeking to put an
9    end to that.
10               THE COURT: But you would still be getting the
11   requests because people would still think the basement was
12   there, and then you would be saying, well, there's no files in
13   the basement anymore, they're now at wherever.
14               MS. FRANKLIN: Right.
15               What would happen is people would send a subpoena for
16   the right to have their file, and then we would actually go to
17   the records division, which is where the file would be, and
18   get them a copy.
19               There's this idea that there are these separate files
20   in the basement that we're trying to put an end to and make
21   sure that all files are where they belong.
22               THE COURT: Before you talk, Ms. Gorman, let me just
23   reread something in your response to this motion.
24        (Brief interruption.)
25               THE COURT: Okay, go ahead.
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1                MS. GORMAN: Your Honor, I think it's impossible for
2    the City to recreate this.
3                THE COURT: I'm going to assume that it wouldn't be
4    able to be recreated in anything that would be identical. But
5    the odds of a jury ever having to look at the details of
6    what's in the filing cabinets is pretty slim. I mean, that
7    didn't happen in the first trial.
8                MS. GORMAN: It didn't happen in the first trial
9    because we didn't know what was in the other 20 cabinets. We
10   only were able to view that one cabinet.
11               THE COURT: Twenty? I had a smaller number in mind.
12               MS. GORMAN: It's approximately 20. I think it's
13   slightly more than 20.
14               So, you know, if the Court does want to let the City
15   move it, I do have my request in there for all the things that
16   I think should happen first.
17               THE COURT: So the request is you want an inventory.
18               I thought there was something in there that said --
19   you've got to figure there's an inventory.
20               MS. FRANKLIN: There's a log.
21               THE COURT: There's a log. Your log is an inventory?
22               MS. FRANKLIN: It is a list by cabinet and RD number
23   of every file that's in the basement.
24               THE COURT: Okay.
25               MS. FRANKLIN: So if we needed to recreate it, we
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1    could actually put them back in the order they're in.
2                THE COURT: So what Ms. Gorman is saying, if I'm
3    going to allow you to do this, you want a complete inventory
4    of all files, what cabinet they were in, a list of which ones
5    are considered open, a list of which ones are considered
6    closed, a list of which ones the City is determined relate to
7    cases, okay, and then put some sort of a scarlet letter on
8    each one of them, in other words, identify them so you know
9    where they came from.
10               So there's 20 file cabinets.
11               MS. GORMAN: Correct.
12               THE COURT: The one that I recall somebody opening
13   the drawer on over here was -- it was chock-full. I mean, it
14   was like you couldn't have gotten another piece of paper in
15   anything. Are they all full like that?
16               MS. FRANKLIN: No, they are not all full like that.
17   There are approximately 2,550 files in the basement.
18               THE COURT: Files.
19               MS. FRANKLIN: We have a list of all the files. Ms.
20   Gorman has a list of all the files by RD number and by
21   cabinet. Ms. Gorman has a list of all the files that have
22   been prosecuted.
23               THE COURT: Okay. So one of the things you say in
24   here, in your response on page 5, is that -- and all of this
25   assumes that you end up getting a new trial and you end up
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1    prevailing on the Monell claim -- that you would be asking for
2    some sort of an injunction that relates to what happens that
3    would tell the City you have got to go out and find the people
4    involved or charged in those cases and get them to them.
5                I mean, I have a hard time seeing how you get
6    anywhere, even close to getting past Lyons v. City of Los
7    Angeles as far as, you know, your ability to get that kind of
8    an injunction in your case.
9                MS. GORMAN: Your Honor, it seems to me that if we
10   got a Monell verdict that said that this was a policy of the
11   City and the files are all down there that indicate the names
12   of individuals who have been charged in those cases, that we
13   could come in and ask this Court to make sure that notice goes
14   out to these individuals, that their file is in the basement.
15   I mean, I just think that that's --
16               THE COURT: Yes, okay. I mean, let me just put aside
17   my views about the likelihood of that for the moment.
18               But even assuming that were to happen, if the files
19   have been moved but were inventoried prior to their being
20   moved, and there is a log created -- and I can still do that.
21   I could say, okay, you gave me this list with 2,500 names on
22   it. You have got to find a way of contacting all of those
23   people or their lawyers or whatever and tell them we have got
24   some files, you might want to come look at them.
25               I mean, assuming that you have got through all --
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1    over all those hurdles, I could still do that. In other
2    words, the ability to do that wouldn't be gone because there's
3    an inventory of what's in there.
4                MS. GORMAN: If the inventory is done the way that I
5    asked for it to be done.
6                THE COURT: What is it you're asking for that's
7    different from what you think they have done?
8                MS. GORMAN: What I'm asking for that I think is
9    different is that files that are open are in a separate list.
10   Files that are closed are in a separate list.
11               THE COURT: When you say open and closed, do you mean
12   as the police department uses those terms?
13               MS. GORMAN: Correct.
14               THE COURT: Is that in your log right now?
15               MS. FRANKLIN: It is, your Honor. Ms. Gorman has a
16   list of 470 RD numbers where anyone was prosecuted. So those
17   cases, whether they are completely closed because all
18   offenders have been identified or if they are cleared/open,
19   which means that there are still some identified --
20   unidentified offenders, a list of every case that has gone to
21   the Circuit Court of Cook County has already been provided to
22   her.
23               MS. GORMAN: Your Honor, I'm asking for them to be
24   put in the context of the whole file cabinet system. That's
25   the difference.
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1                And, your Honor, I also want to raise the point that
2     --
3                THE COURT: We're not talking about -- I mean, it's
4     almost as if --
5                And you have not won on this case. In fact, you lost
6     on the Monell claim.
7                MS. GORMAN: I understand.
8                THE COURT: And so I guess what I'm interested in is
9     what I need to do, if anything, to preserve your ability to
10    try to prove the Monell claim if you end up getting a new
11    trial on that claim. I just have a hard time with the notion
12    that I'm going to be in effect -- that I would be in effect
13    entering an injunction that tells the City this is how you
14    have to deal with all of these files.
15               I mean, yes, that's what you're asking me to do.
16    You're asking me to say, okay, you're going to have to put
17    some in category A, you're going to have to put some in
18    category B; you're going to have to, you know, tag them in a
19    particular way; you're going to have to Bates stamp them;
20    you're going to have to do this and that. I mean, that's --
21               I don't think --
22               You have got to clear some thresholds before you get
23    to that, and you haven't cleared the thresholds.
24               MS. GORMAN: Your Honor, what I'm asking for is to
25    maintain the status quo until the Court decides on this. But
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1     if the Court doesn't want to maintain the status quo, then I'm
2     asking for certain things. And I just want to raise that the
3     issue --
4                THE COURT: Have I set a ruling date on the parole
5     commission stuff that relates to the --
6                MS. GORMAN: You set a status for the 30th.
7                MR. MICHALIK: Your Honor, it was a status and
8     potential ruling date.
9                THE COURT: That's kind of what I remember.
10               MS. GORMAN: I was actually going to ask if that date
11    could be moved to the 6th.
12               THE COURT: It can't.
13               MS. GORMAN: Okay.
14               THE COURT: Because -- no.
15               MS. GORMAN: Okay.
16               THE COURT: It can't. I've got everything I'm going
17    to get on that, right?
18               MS. GORMAN: Actually, I gave you a wrong list last
19    time, and I'm bringing you the right one.
20               THE COURT: Give me the other one. Just give it to
21    Pam.
22               This is the thing, the hearing?
23               MS. GORMAN: The hearing.
24               THE COURT: The hearing, okay.
25               All right. Well, you have waited this long. You're
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1     going to have to wait two more weeks. I'm going to enter and
2     continue this to the 30th of January. If you want to file
3     something else, you can. It would be helpful to me --
4                Well, let me put it this way. Hang on a second.
5          (Brief interruption.)
6                THE COURT: It would buttress your position, if you
7     will, if you could maybe verify a little bit the notion that
8     you guys are getting requests to go see this stuff.
9                MS. FRANKLIN: Your Honor, I can attach that.
10               THE COURT: Okay. So it's continued to the
11    whatever --
12               I assume I have it set for 9:30 on the 30th of
13    January?
14               MR. MICHALIK: Yes, your Honor.
15               THE COURT: It's continued to that date.
16               MS. FRANKLIN: Your Honor, would you also like a copy
17    of the log, for example?
18               THE COURT: That would be nice, yes. Give me a copy
19    of that, too.
20               MS. FRANKLIN: Okay.
21               MS. GORMAN: Your Honor, can I just raise one other
22    issue?
23               THE COURT: Sure.
24               MS. GORMAN: The information that I have received
25    from the City has been pursuant to a committee that I'm on
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1     that was formed after.
2                THE COURT: A committee that you're on.
3                MS. GORMAN: Committee for --
4                MS. FRANKLIN: Transparent police file, your Honor.
5                MS. GORMAN: Thank you.
6                THE COURT: Okay. That doesn't mean they're all
7     going to be on the transparencies. There's at least two
8     people in the room who know what a transparency is.
9                MS. FRANKLIN: It does for me, your Honor.
10               MS. GORMAN: Under the agreement for that committee
11    to have gone down and looked at these documents and the files
12    and to get these lists, we had to agree that it's
13    confidential, which means I'm not supposed to be using it in
14    Fields, which is another issue that it seems to me that
15    they're waiving that.
16               THE COURT: Stop, stop. I want to make sure I'm
17    getting what you're saying.
18               Okay. So there's this committee, and you are on the
19    committee. The committee has been allowed to go down and look
20    at the files, but the committee is doing this under some sort
21    of a confidential thing.
22               MS. GORMAN: Correct.
23               THE COURT: And you're saying, since you're a lawyer
24    in this case, you don't want to be subject to that.
25               MS. GORMAN: Well, they're saying I've got all this
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1     stuff as though I have it in the Fields case and I have it as
2     part of this committee, not as part of the Fields case.
3                THE COURT: So what? So if you have got it in the
4     Fields case, so what's your problem? I'm missing your point.
5     What are you asking me to do?
6                MS. GORMAN: I want to make sure that I can use this
7     information that they have given me in the actual Fields case,
8     which is not how --
9                THE COURT: So you have gotten the log?
10               MS. GORMAN: I've gotten some of the logs.
11               THE COURT: Okay. What is it that you have gotten
12    while wearing your committee hat that you want to be able to
13    use while wearing your Fields hat?
14               MS. GORMAN: The documents that they were just
15    referring to.
16               THE COURT: The log?
17               MS. GORMAN: The logs and the list of cases that are
18    in court.
19               THE COURT: Do you have a problem with the use of the
20    log in this case?
21               MS. FRANKLIN: Well, your Honor --
22               THE COURT: You're going to give it to me. If you're
23    going to give to me, which I just told you to do, she's going
24    to get to use it.
25               MS. FRANKLIN: Yes, your Honor.
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1                THE COURT: Okay, so there you go.
2                MS. GORMAN: Thank you.
3                THE COURT: Fine.
4                MS. FRANKLIN: Your Honor, could I file it under
5     seal?
6                MR. MICHALIK: It needs to be.
7                THE COURT: Yes, sure, file it under seal. That's
8     fine.
9                MS. FRANKLIN: Thank you, your Honor.
10               THE COURT: Yes. Give her a copy of the file.
11               MS. FRANKLIN: Oh, absolutely.
12               THE COURT: I'm going to take a five-minute break.
13         (Which were all the proceedings had in the above-entitled
14    cause on the day and date aforesaid.)
15
16                               C E R T I F I C A T E
17
18              I hereby certify that the foregoing is a true and
19    correct transcript of the above-entitled matter.
20
21
22    /s/ Laura M. Brennan                                  January 20, 2015
23
24
      Laura M. Brennan
25    Official Court Reporter                                       Date
      Northern District of Illinois
